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        DENIED for failure to submit
        a properly completed form.

        Dated: November 19, 2010


        ____________________________________
        CHIEF UNITED STATES DISTRICT JUDGE
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